      Case 24-55036-jwc                  Doc 1               Filed 05/17/24 Entered 05/17/24 15:23:35                                            Desc p
                                                                   Page 1 of 10




    Fill in this information to identify your case:

    United States Bankruptcy Court for the:
                                                                                                 r .
                     District of                                                                       , 17 PM 3:13
    Case number (If known):                                         Cihapter you are filing under: I        .-:, . ALL EN
                                                                   mil Chapter 7   .                   1 L —Lir;iyi                          LI Check if this is an
                                                                    01 Chapter 11
                                                                    0 Chapter 12           BY ...._ :  C-ASk-NA-rovue'                           amended filing
                                                                    0 Chapter 13                  i., 4i
                                                                                                       1




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22

The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


 Part 1:    Identify Yourself

                                      About Debtor 1:                                                           About Debtor 2 (Spouse Only in a Joint Case):

 1. Your full name
     write the name that ib on your   Firs    into                                                              First name
     government-issued picture
     identification (tor et.amplo;
                                      Middle name
                                                     K \                                                        Middle name
     your driver's license or
     passport).
                                      Last name                                                                 Last name
     Bring your picture
     identification to your meeting
     with the trustee.                Suffix (Sr., Jr., II, Ill)                                                Suffix (Sr., Jr., 11, Ill)


  2. All other names you                               IvANN
                                              aq                                                                First name
     have used in the last 8
     years                                     r\ix tr\
                                      Mipple name' ,                                                            Middle name
     Include your married or
     maiden names and any             Last name
                                                                                                                Last name
     assumed, trade names and
     doing business as names.          First name
     Do NOT list the name of any                                                                                First name
     separate legal entity such as     Middle name
     a corporation, partnership, or                                                                              Middle name
     LLC that is not filing this       Last name
     petition.
                                                                                                                 Last name
                                       Business name (if applicable)
                                                                                                                 Business name (if applicable)
                                       Business name (if applicable)
                                                                                                                 Business name (if applicable;



! 3. Only the last 4 digits of
                                       >O<X                                                                      XXX      — XX —
     your Social Security
     number or federal                 OR                                                                      • OR
     Individual Taxpayer
     Identification numher             9 xx - xx -                                                               9 xx - xx
     (ITIN)

 Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
       Case 24-55036-jwc                        Doc 1               Filed 05/17/24 Entered 05/17/24 15:23:35                                   Desc p
                                                                          Page 2 of 10




Debtor 1          (1
                   -t
              net Name
                         014    4iN
                               Middle Name
                                             s__,Q_CA(\k/VV\
                                                        Last Name
                                                                       s4
                                                                       H
                                                                        w                                 Case number (if known)


                                             About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


 4. Your Employer
    Identification Number                    EIN                                                                  EIN
    (EIN), if any.

                                             EIN                                                                  EIN



  5. Where you live                                                                                               If Debtor 2 lives at a different address:




                                             Number          Street
                                                                           ),A)c,v)S:)v-,             4.          Number           Street




                                                                El     /1 0    a
                                             City                                    State    ZIP Ciiile) *City                                        State      ZIP Code


                                             Couc                                                                 County

                                             If your mailing address is different from the one                    If Debtor 2's mailing address is different from
                                             above, fill it in here. Note that the court will send                yours, fill it in here. Note that the court will send
                                             any notices to you at this mailing address.                          any notices to this mailing address.



                                             Number           Street                                               Number          Street


                                             P.O. Box                                                              P.U. Box


                                             City                                    State     ZIP Code            City                                State      ZIP Code




  6. Why you are choosing                    Check one:                                                            Check one:
     this district to file for
                                                    Over the last 180 days before filing this petition,            U Over the last 180 days before filing this petition,
     bankruptcy
                                                    I have lived in this district longer than in any                 I have lived in this district longer than in any
                                                    other district.                                                  other district.

                                             U I have another reason. Explain.                                     0 I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                               (See 28 U.S.C. § 1408.)




   Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                        page 2
    Case 24-55036-jwc                     Doc 1           Filed 05/17/24 Entered 05/17/24 15:23:35                                      Desc p
                                                                Page 3 of 10




Debtor 1                                                                                          Case number (if known)
            First Narne   Middle Name              Last Name




Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(6) for Individuals Filing
   Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                        LI Chapter 7
   under
                                        U Chapter 11

                                        0 Chapter 12
                                        D Chapter 13


8. How you will pay the fee             U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                           local court for more details about how you may pay. Typically, if you are paying the fee
                                           yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                           submitting your payment on your behalf, your attorney may pay with a credit card or check
                                           with a pre-printed address.

                                        0 I need to pay the fee in installments. If you choose this option, sign and attach the
                                          Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                   1,2(1request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                       less than 150% of the official poverty line that applies to your family size and you are unable to
                                       pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                       Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for
   bankruptcy within the
   last 8 years?                        0 Yes. District                                   When                        Case number
                                                                                                 MM/ DD /YYYY

                                                   District                               When                        Case number
                                                                                                 MM/ DD/YYYY

                                                   District                               When                        Case number
                                                                                                 MM/ DD /YYYY




io. Are any bankruptcy
    cases pending or being
    filed by a spouse who is                Yes.   Debtor                                                              Relationship to you
    not filing this case with                      District                               When                         Case number, if known
    you, or by a business                                                                        mm DD /YYYY
    partner, or by an
    affiliate?
                                                   Debtor                                                              Relationship to you

                                                   District                               When                         Case number, if known
                                                                                                 MM / DD / YYYY



    Do you rent your                      ;lo. Go to line 12.
    residence?
                                  i:21     Yes. Has your landlord obtained an eviction judgment against you?
                                                    0 No. Go to line 12.
                                               tztf      Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
    Case 24-55036-jwc                      Doc 1             Filed 05/17/24 Entered 05/17/24 15:23:35                                 Desc p
                                                                   Page 4 of 10




Debtor 1                                                                                          Case number (if known)
              First Name    Middle Name               Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time
    business?                             CI Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                  Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                                  Number          Street
    LLC.
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                      City                                                 State           ZIP Code


                                                  Check the appropriate box to describe your business:

                                                  O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  O Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  •      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  O None of the above


13. Are you filing under                  If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                     choosing to proceed under Suhr;hapter I/ so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                  are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                          most receni. balance sheet, statement of operations, cash-flow statement, and feden-IlincomO tax return or
    are you a small business
                                          if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §                  No. I am not filing under Chapter 11.
    1182(1)?                              Li No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                    the Bankruptcy Code.
    business debtor, see
                                          D Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
    11 U.S.C. § 101(51D).
                                                 Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                             Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                  Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




   Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
      Case 24-55036-jwc                      Doc 1            Filed 05/17/24 Entered 05/17/24 15:23:35                           Desc p
                                                                    Page 5 of 10




Debtor 1                                                                                        Case number (if known)
             First Name    Middle Nam
                                    c ?—rj        Last Name




 Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any                  No
     property that poses or is I
     alleged to pose a threat           D Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                    If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property?
                                                                             Number        Street




                                                                             City                                        State    ZIP Code




   Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                             page 5
       Case 24-55036-jwc                      Doc 1         Filed 05/17/24 Entered 05/17/24 15:23:35                                        Desc p
                                                                  Page 6 of 10




Debtor 1                                                                                               Case number (irmovm)
                            Middle Name




Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                 You must check one:                                                You must check one:
    counseling.
                                          El I received a briefing from an approved credit                    0 I received a briefing from an approved credit
                                             counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit          certificate of completion.                                         certificate of completion.
    counseling before you file for
                                             Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                             plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you             CI I received a briefing from an approved credit                    CI I received a briefing from an approved credit
    cannot do so, you are not                counseling agency within the 180 days before I                      counseling agency within the 180 days before I
    eligible to file.                        filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                             certificate of completion.                                          certificate of completion.
    If you file anyway, the court       Within 14 days after you file this bankruptcy petition,                   Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                        you MUST file a copy of the certificate and payment                       you MUST file a copy of the certificate and payment
    will lose  whatever filing fee                                                                                plan, if any.
                                         plan, if any.
    you paid, and your creditors
    can begin collection activities yial -4
                                          certify that I asked for credit counseling                          0 I certify that I asked for credit counseling
    again.                               services from an approved agency, but was                              services from an approved agency, but was
                                         unable to obtain those services during the 7                           unable to obtain those services during the 7
                                         days after I made my request, and exigent                               days after I made my request, and exigent
                                         circumstances merit a 30-day temporary waiver                           circumstances merit a 30-day temporary waiver
                                         of the requirement.                                                    of the requirement.
                                             To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                             you were unable to obtain it before you filed for                    you were unable to obt:-...in it before you filed for
                                             hankruptc,y and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                             required you to file this case.                                      required you to file this case.
                                             Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                             If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved                        You must file a certificate from the approved
                                             agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                             may be dismissed.                                                    may be dismissed.
                                             Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                             only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                             days.                                                                days.

                                          0 I am not required to receive a briefing about                     CI I am not required to receive a briefing about
                                            credit counseling because of:                                        credit counseling because of:

                                              O Incapacity. I have a mental illness or a mental                   O Incapacity. I have a mental illness or a mental
                                                            deficiency that makes me                                            deficiency that makes me
                                                            incapable of realizing or making                                    incapable of realizing or making
                                                            rational decisions about finances.                                  rational decisions about finances.
                                              O Disability.     My physical disability causes me                  U Disability.      My physical disability causes me
                                                                to be unable to participate in a                                     to be unable to participate in a
                                                                briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                through the internet, even after I                                   through the Internet, even after I
                                                                reasonably tried to do so.                                           reasonably tried to do so.
                                              O Active duty. I am currently on active military                    O Active duty. I am currently on active military
                                                             duty in a military combat zone.                                     duty in a military combat zone.

                                              If you believe you are not required to receive a                    If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




   Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                          page 6
         Case 24-55036-jwc                           Doc 1             Filed 05/17/24 Entered 05/17/24 15:23:35                                                   Desc p
                                                                             Page 7 of 10




Debtor 1                                                                                                             Case number (irkno6m)
                 First Name        Middle Nam              Last Name




               Answer These Questions for Reporting Purposes

                                                16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                           as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                                     Li No. Go to line 16b.
                                                                 Go to line 17.

                                                16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                    money for a business or investment or through the operation of the business or investment.
                                                  v ia -No. Go to line 16c.
                                                    Li Yes. Go to line 17.

                                                16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                                  D No. I am not filing under Chapter 7. Go to line 18.
                                   Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
     Do you estimate that aftei\--Er
     any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
     excluded and                    v Eao
     administrative expenses
     are paid that funds will be        IZ1 Yes
     available for distribution
     to unsecured
              _     creditors?

19. How many creditors do                                                                     C3 1,000-5,000                                      D 25,001-50,000
    you estimate thRt you                       CI 50-99                                      LI 5.1101-10,000                                    L:1 50,001-100,000
    owe?                                        Li 100-199 .                                  LI 10,001-25,000                                    U More than 100,000
                                                LI 2U0-ii
 19. How much do you                                $0-$50,000                                LI $1,000,001-$10 million                           LI $500,000,001-$1 billion
     estimate your assets to                    LI $50,001-$100,000                           LI $10,000,001-$50 million                          LI $1,000,000,001-$10 billion
     be worth?                                  D $100,001-$500,000                           LI $50,000,001-$100 million                         LI $10,000,000,001-$50 billion
                                                LI $500,001-$1 million                        D $100,000,001-$500 million                         0 More than $50 billion
 20. How much do you                            LI $0-$50,000                                 LI $1,000,001-$10 million                           LI $500,000,001-$1 billion
     estimate your liabilities                     $50,001-$100,000                           C3 $10,000,001-$50 million                          D $1,000,000,001-$10 billion
     to be?                                     LI $100,001-$500,000                          LI $50,000,001-$100 million                              $10,000,000,001-$50 billion
                                                LI $500,001-$1 million                             $100,000,001-$500 million                       1:1 More than $50 billion
 Part 7:        Sign Below

                                                I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                                        correct.
                                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                under Chapter 7.
                                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                with a bankruptcy case can retyJlt in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                18 U.S.C. §§ 152, 1341, 151, and 3571.



                                                     Signature of Debtor 1                                                      Signature of Debtor 2

                                                     Executed on       DS t-1 1/02,(i
                                                                       MM    / DO IrivY
                                                                                                                                Executed on
                                                                                                                                                  MM / rin       ;YYYY
nnyrauzmmr.t4t.Annumummropmnwgmr.ntmar,Attnnrmtvaiwzonummfnmme,amtrwmparaviraNtInnwg=7,mmazaammmtnr.nrravararatrannaroznymanntwmaxvingam,A—wItymannmrattlumnarmrwar4mvalmatunntirannurarantor..mwArat,

    Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                         page 7
      Case 24-55036-jwc             Doc 1                Filed 05/17/24 Entered 05/17/24 15:23:35                                Desc p
                                                               Page 8 of 10




Debtor 1
             FiitNn,e
                                    Q t1 k    M
                                             Last Name
                                                         SIVV\4                            Case number (iri.own)




                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                    Date
                                    Signature of Attorney for Debtor                                                MM   /     DD / YYYY




                                    Printed name


                                    Firm name


                                    Number       Street




                                    City                                                            State           ZIP Code




                                    Contact phone                                                   Email address




                                    Bar number                                                      State




   Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                     page 8
               Case 24-55036-jwc                         Doc 1             Filed 05/17/24 Entered 05/17/24 15:23:35                           Desc p
                                                                                 Page 9 of 10




 Debtor 1
                          First Name
                                             cQs
                                       Middle Name
                                                                     (51,4teN
                                                               Last Name
                                                                                                           Case number (dknown)



i.aV.11.-i7aMI:EM:,!.1,47;a172


  For you if you are filing this                       The law allows you, as an individual, to represent yourself in bankruptcy court, but you
  bankruptcy without an                                should understand that many people find it extremely difficult to represent
  attorney                                             themselves successfully. Because bankruptcy has long-term financial and legal
                                                       consequences, you are strongly urged to hire a qualified attorney.
  If you are represented by
  an attorney, you do not                              To be successful, you must correctly file and handle your bankruptcy case. The rules are very
  need to file this page.                              technical, and a mistake or inaction may affect your rights. For example, your case may be
                                                       dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                                       hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                                       firm if your case is selected for audit. If that happens, you could lose your right to file another
                                                       case, or you may lose protections, including the benefit of the automatic stay.

                                                       You must list all your property and debts in the schedules that you are required to file with the
                                                       court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                                       in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                                       property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                                       also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                                       case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                                       cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                                        be familiar with any state exemption laws that apply.

                                                        Are you aware that filing for bankruptcy is a serious action with long-term Financial and legal
                                                        consequences?
                                                        O No


                                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                                        inaccurate or incomplete, you could be fined or imprisoned?
                                                        O No
                                                     1,/tfrY—"
                                                             es

                                                         Didpu pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                                     vAl ....y.
                                                            No
                                                        O Yes. Name of Person
                                                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                                        attorney may cause me to lose my rights or property if I do not properly handle the case.




                                                         Signature of Debtor 1                                       Signature of Debtor 2


                                                        Date                                                         Date
                                                                           mm, DD / YYYY                                              MM! DD / YYYY

                                                        Contact phone      6—a              - g cv                   Contact phone

                                                        Cell phone         (6--(6                                    Cell phone


                                                        Email address S                                              Email address



       Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                               page 9
          Case 24-55036-jwc              Doc 1        Filed 05/17/24 Entered 05/17/24 15:23:35                              Desc p
                                                           Page 10 of 10




Case Number: 24-55036                           Name: Smith                              Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.goviservices-forms/bankruptcy/filing-without-attorney.

El Individual - Series 100 Forms                                                         CI Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                    O Last 4 digits of SSN
 El Pro Se Affidavit (signature must be notarized,                                       O Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    CI Statistical Estimates
 El Signed Statement of SSN                                                              O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
Z Statement of Financial Affairs                                                                            Case filed via:
El Schedules: A/B C D El FGHIJ 0 J-2 (separate household of Debtor 2)              0 Intake Counter by:
El Summary of Assets and Liabilities                                                   El Attorney
El Declaration About Debtor(s) Schedules                                               El Debtor 678-814-3666
CI Attorney Disclosure of Compensation                                                 CI Other:
CI Petition Preparer's Notice, Declaration and Signature (Form 119)                El Mailed by:
1=1 Disclosure of Compensation of Petition Preparer (Form 2800)                        CI Attorney
0 Chapter 13 Current Monthly Income                                                    CI Debtor
• Chapter 7 Current Monthly Income                                                     CI Other:
O Chapter 11 Current Monthly Income
El Certificate of Credit Counseling (Individuals only)                             1:1 Email [Pursuant to Amended and Restated General
CI Pay Advices (Individuals only) (2 Months)                                       Order 45-2021, this petition was received for filing via
CI Chapter 13 Plan, complete with signatures (local form)                          email]
O Corporate Resolution (Non-Individual Ch. 7 & 11)                                               History of Case Association
                                                                                   Prior cases within 3 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
El Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature:
Chapter 11                                                                         Acknowledgment of receipt of Deficienc Notice
0 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                    Intake Clerk:     kit            ID Verified        Date:5/17/24
O Small Business - Statement of Operations
O Small Business - Cash Flow Statement
DI Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      El Paid $
       El Pending Pay.Gov, Paid $
          IFP filed (Ch.7 Individuals Only)
       111 2g-Order Granting El 3g-Order Granting 10-day (initial payment of $_____ due within 10 days)
       El 2d-Order Denying with filing fee of $           due within 10 days
       El No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                                Atlanta, Georgia 30303
                                                                    404-215-1000
